■ i-   Case 1:18-cr-00089-TSE Document 168 Filed 05/01/19 Page 1 of 11 PageID# 484




                          IN THE UNITED STATES DISTRICT COURT FOR THE

                                                                                             a£RiC,U.S. DISTRICT COURT
                                     EASTERN DISTRICT OF VIRGINIA                              AL^DRIA.VIRGINIA

                                              Alexandria Division


       UNITED STATES OF AMERICA


                                                            Criminal No. 1:18-cr-89
                                                            (Hon. T. S. Ellis III)
       JERRY CHUN SHING LEE,

                      Defendant.


                                             PLEA AGREEMENT


              G. Zachary Terwilliger, United States Attorney for the Eastern District of Virginia;

       W. Neil Hammerstrom, Jr., Assistant United States Attorney; Adam L. Small and Patrick T.

       Murphy, Department of Justice Trial Attorneys; the defendant, Jerry Chun Shing Lee; and the

       defendant's counsel have entered into an agreement pursuant to Rule 11 ofthe Federal Rules of

       Criminal Procedure. The terms of the agreement are as follows:

              1.      Offense and Maximum Penalties

              The defendant agrees to plead guilty to Count One ofthe indictment charging the

       defendant with conspiracy to deliver national defense information to aid a foreign govemment, in

       violation of Title 18, United States Code, Sections 794(a)&(c). As set forth in the

       accompanying statement offacts, the national defense information that is the subject ofthis

       conspiracy and the terms of this plea agreement was, and is, classified at the Secret level. The

       maximum penalties for this offense are a maximum term of life imprisonment, a fine of

       $250,000, a special assessment pursuant to 18 U.S.C. § 3013, and a supervised release term of a

       maximum offive years. The defendant understands that this supervised release term is in

       addition to any prison term the defendant may receive, and that a violation of a term of
Case 1:18-cr-00089-TSE Document 168 Filed 05/01/19 Page 2 of 11 PageID# 485
Case 1:18-cr-00089-TSE Document 168 Filed 05/01/19 Page 3 of 11 PageID# 486
Case 1:18-cr-00089-TSE Document 168 Filed 05/01/19 Page 4 of 11 PageID# 487
Case 1:18-cr-00089-TSE Document 168 Filed 05/01/19 Page 5 of 11 PageID# 488
Case 1:18-cr-00089-TSE Document 168 Filed 05/01/19 Page 6 of 11 PageID# 489
Case 1:18-cr-00089-TSE Document 168 Filed 05/01/19 Page 7 of 11 PageID# 490
Case 1:18-cr-00089-TSE Document 168 Filed 05/01/19 Page 8 of 11 PageID# 491
Case 1:18-cr-00089-TSE Document 168 Filed 05/01/19 Page 9 of 11 PageID# 492
Case 1:18-cr-00089-TSE Document 168 Filed 05/01/19 Page 10 of 11 PageID# 493
Case 1:18-cr-00089-TSE Document 168 Filed 05/01/19 Page 11 of 11 PageID# 494
